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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA


                                      Alexandria Division



                                                 Criminal No. 1:19-CR-201             o

UNITED STATES OF AMERICA
                                                 Count 1: 18 U.S.C. § 2252(a)(4)&(b)(2)
                                                 Possession of Visual Depictions'bf Minors

                                                 Count 2: 18 U.S.C. § 2423(a)
GEORGE AREF NADER,                               Transportation of a Minor With Intent To
                                                 Engage in Criminal Sexual Activity
               Defendant.




                                CRIMINAL INFORMATION

                                           COUNT 1


                          (Possession of Visual Depictions of Minors)

THE UNITED STATES ATTORNEY CHARGES THAT:

       On a date between September 20, 2012 and October 1,2012, within the Southern District

ofNew York and elsewhere, the defendant, GEORGE AREF NADER,having previously been

convicted of an offense under Chapters 71,109A, 110, 117 of Title 18, United States Code, or

the laws of any State relating to aggravated sexual abuse, sexual abuse, or abusive sexual

conduct involving a minor, did unlawfully and knowingly possess, or knowingly accessed with

intent to view, one or more matters containing visual depictions of minors engaging in sexually

explicit conduct and the production ofsuch visual depictions involved the use ofa minor

engaging in that sexually explicit conduct,that has been mailed, or has been shipped or

transported using any means or facility of interstate or foreign commerce or in or affecting

interstate commerce or foreign commerce, or which was produced using materials which have
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